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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

  DEXTER KING,

                      Plaintiff,

  v.                                                 Case No.: 6:23-cv-2485-WWB-LHP

  AMERICAN EXPRESS NATIONAL
  BANK and TRUIST BANK,

                      Defendants.


                                          ORDER

        THIS CAUSE is before the Court on the parties’ Joint Stipulations of Voluntary

  Dismissal Without Prejudice (Doc. Nos. 50, 51), filed November 26, 2024. Pursuant to

  Federal Rule of Civil Procedure 41(a)(1)(A)(ii), the Clerk is directed to terminate all

  pending motions and close this case.

        DONE AND ORDERED at Orlando, Florida on December 3, 2024.




  Copies to:

  Counsel of Record
